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 4
   Attorney for:
 5 Christian Parada Renteria

 6
                                     IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 11-00296 JAM
10
                                      Plaintiff,          REQUEST TO FILE UNDER SEAL AND ORDER
11
                                v.
12
     CHRISTIAN PARADA RENTERIA,
13                       Defendant.

14

15
            Pursuant to Local Rule 14(b), Defendant, CHRISTIAN RENTERIA PARADA, by and through
16
     his Counsel, Dina L. Santos, respectfully requests an Order sealing Exhibits F, H, and I, attached to
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     Defendant Christian Parada Renteria’s Motion for Reconsideration of Motion to Withdraw Plea. The
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     Exhibits contain transcripts of sealed proceedings, and an excerpt from Mr. Parada’s confidential
19
     probation report.
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            The Court may order documents to be filed under seal. While the press and the public have a
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     presumed right of access to court proceedings and documents under the first amendment, this presumed
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     right is not absolute. See Press-Enterprise Co. v. Superior Court, 464 U.S. 501 (1985). It can be
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     overcome based on findings that closure is essential to preserve higher values and is narrowly tailored to
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     serve that interest. Id. From the Court’s perspective, the controlling interest is to articulate along with
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     findings specific enough that a reviewing court can determine whether the closure order was properly
26
     entered. Id.
27
            Here, the Defense seeks to file the exhibits under seal because of the nature of the information
28

      Request to Seal & Order                              1
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 1 contained within the documents. The information within the documents will violate a court order that

 2 sealed the proceedings of two separate court proceedings, and will make public information contained

 3 within Mr. Parada’s confidential probation report.

 4                                                      Respectfully Submitted,

 5
     Dated: March 14, 2018                                  /s/ Dina L. Santos
 6                                                          DINA SANTOS, ESQ.
                                                            Attorney for Christian Parada Renteria
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11
                                                    ORDER
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                    Pursuant to Local Rule 14(b), and base upon the representation contained in Defendant’s
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     Request to Seal, IT IS SO FOUND AND ORDERED THAT, the EXHBITS F, H,AND I, OF
15
     DEFENDANT CHRISTIAN PARADA RENTERIA’S MOTION FOR RECONSIDERATION OF
16
     MOTION TO WITHDRAW PLEA, shall be sealed until further order of this Court.
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18
            March 16, 2018
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                                                            /s/ John A. Mendez
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21                                                          HON. JOHN A. MENDEZ
                                                            UNITED STATES DISTRICT COURT JUDGE
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      Request to Seal & Order                           2
